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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE

______________________________
JOAN ANZIANI,                  )                            Civil Action No.: 1:18-cv-00855
            Plaintiff,         )
                               )
vs.                            )
                               )                            FIRST AMENDED COMPLAINT
GHM WENTWORTH, LLC             )                            AND DEMAND FOR JURY
                               )                            TRIAL
            Defendant.         )
______________________________)

                                 SUMMARY OF THE CASE

1.   This complaint asserts a claim for negligence against GHM Wentworth, LLC, an entity that

     controls and manages Wentworth by the Sea, a Marriott Hotel & Spa, in New Castle, New

     Hampshire. The Plaintiff, Joan Anziani, was injured while working at the hotel when a

     soup oven, which had been negligently placed in an unsafe area by the Defendant, spilled

     over, causing Joan Anziani to be severely burned.


                                           PARTIES

2.   The Plaintiff, Joan Anziani, resides at 1 Hancock Street, Lawrence, Massachusetts 01841.

3.   The Defendant, GHM Wentworth, LLC, is a corporation with a principal place of business

     at 1000 Market Street, Building One, Portsmouth, New Hampshire 03801.


                                       JURISDICTION

4.   The Plaintiff, Joan Anziani, is a citizen of Massachusetts.

5.   The Defendant, GHM Wentworth, LLC, at all relevant times was located in and conducted

     business in New Hampshire and is subject to the personal jurisdiction of this Court.




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6.    The District Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332 since

      complete diversity of citizenship exists between the Plaintiff and the Defendant, and the

      amount in controversy exceeds $75,000.00. Venue is proper in the District Court pursuant

      to 28 U.S.C. § 1391 since the Defendant is a New Hampshire entity with their principle

      place of business in Portsmouth, New Hampshire and were conducting business in New

      Hampshire at all relevant times.



                                     FACTUAL SUMMARY

7.    At all times pertinent hereto, the Defendant controlled and managed Wentworth by the Sea,

      a Marriott Hotel & Spa, located at 588 Wentworth Road, New Castle, New Hampshire

      03854.

8.    In connection with said control and management, the Defendant hired Plaintiff’s employer,

      Excel Janitorial Services of NH LLC, to perform work at said site.

9.    On or about November 17, 2017, the Plaintiff, who was engaged in work at said site, was

      severely injured when a soup oven containing boiling hot soup tipped over and spilled on

      Plaintiff.

10.   Said soup oven was positioned by Defendant’s employees to stand on a metal grate, under

      which was a drain full of ice. Plaintiff was instructed to clean out the drain under the grate.

      As Plaintiff poured hot water through the grate to melt the ice, as he was instructed to do,

      the grate became dislodged and fell into the drain, causing the soup oven to tip over onto

      Plaintiff, and resulting in severe burns to Plaintiff’s body.




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                                             COUNT I

                        NEGLIGENCE AGAINST THE DEFENDANT

11.   The Plaintiff repeats and restates the allegations contained in paragraphs 1 through 10 and

      incorporate said allegations herein by reference.

12.   The injuries sustained by Joan Anziani were the direct and proximate result of the

      negligence of the Defendant as follows:

      a.   Defendant negligently supervised, controlled and maintained the work at said site;

      b.   Defendant negligently failed to ensure that the work conducted at the site was

           performed so as to provide reasonable protection for workers at the site, including the

           Plaintiff;

      c.   Defendant negligently permitted employees at the site, including the Plaintiff, to work

           under conditions which were not in compliance with New Hampshire codes and

           regulations; and

      d.   Defendant failed to ensure that the site was in a safe condition.

13.   As a direct and proximate result of the negligence of Defendant, as set forth herein, the

      Plaintiff was caused to sustain severe and permanent injuries including severe burns to his

      head, face, arms, left leg, and left foot, as well as permanent scarring. Plaintiff has had

      extensive medical care and will require additional future care. Plaintiff is disabled from his

      usual activities. Plaintiff’s quality of life has been adversely affected. Plaintiff does not

      enjoy life as he did prior to the occurrence.




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         WHEREFORE, Plaintiff prays judgment against Defendant, together with interest and

costs.

         PLAINTIFF CLAIMS TRIAL BY JURY.



                                                   The Plaintiffs,
                                                   By Their Attorneys,

                                                   /s/ David W. Faraci
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Dated: September 25, 2019




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